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April 27, 2021
                                   INTHE
                      SUPREME COURT OF THE UNITED STATES

                                  MICHAEL T BROOKS
                                      Petitioner
                                          vs

                                    Centene Corporation
                 dba Respondent Resources
                    dba LIPA (aka/dba Lane Individual Practice Association
                              aka.dba Lane Independent Physicians Association)
                      dba Trillium Community Health Program
                                        Respondent

Petitioner's Response to "DEFENDANTS' MOTION TO SEAL PETITION FOR WRIT
OF CERTIORARI ATTACHED TO RELATOR'S REPLY AND REBUTTAL of April 19,
2021




                                     Michael T Brooks
                                    32713 Vintage Way
                                   Coburg, Oregon 97408




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       Respondents seek to mislead the Court in keeping from public knowledge Respondent's
multiple breaches of public trust. Petitioner will take the time to show their counsel misleading
courts and attempting to mislead this Court, and provide legal support for unsealing and
releasing the records in this case. The public is not served when one of the Country's largest
insurers has been engaged in selling their medical records and causing them to lose jobs, pay
higher interest rates or be denied loans for home, auto, and personal credit.
       The present issue seems to seal a record of a
What Respondent's counsel does not tell you if that Respondent's fililil that record to an
infonnation warehouse. The information warehouse was foreign. Petitioner checked and that was
a forei&n   intelli1ence a~ency. Petitioner cannot imagine anyone else being interested in a

       What Respondent's counsel does not tell this Court is that Respondent's~ the medical
and counseling record for at least 5, 1 9 7 - students and tens of thousands of students from
Taiwan, Singapore, South Korea, Saudi Arabia, UAE/Dubai, Canada, the UK, Sweden,
Denmark, Norway, Australia, Spain, Japan .... More than 90 countries.
       Those r                                                                  , counseling records
where children from foreign countries discuss their families and innermost secrets, records of
students who caught AID and the laboratory records of HIV tests. Professional chart notes,
billing records, records that Respondent's were not even legally allowed to see, much less
possess, were sold.
       Those sales contravene the Fourth Geneva Accord, Section 3, against "outrages upon
personal dignity, in particular humiliating and degrading treatment" of civilians in times of
peace. [see ICRC "Convention (IV) relative to the Protection of Civilian Persons in Time of War.
Geneva, 12 August 1949"]
       These sales contravene the Geneva Conventions, are Crimes Against Humanity, and this
Court is looking at tens of thousands of foreign student victims, every one a separate violation.
The act of a rogue state government and its contractor could make the United States an
international pariah.
       These are violations of UN treaties to which the US is signatory to and ratified:
"International Covenant on Civil and Political Rights", "Convention against Torture and Other
Cruel, Inhuman or Degrading Treatment or Punishment", the "Convention on the Prevention and

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Punishment of Crimes Against Internationally Protected Persons", the Conventions on the Rights
of Children, all of which the United States has ratified. These also contain specific protections
for whistleblowers. The US, because of the sale of these records is in violation of the UN
Convention Against Corruption. No international Court is going to see Oregon or the Oregon
federal court as anything other than the United States in violation of international law and
treaties.
        Respondent's counsel seems to think that the US Supreme Court is the end of this. This
case, however crosses national boundaries, just as it crosses state boundaries. Centene has
operations in Spain and the UK ("Trowbridge surgery in Hackney Wick. It is one of 11 GP
surgeries in NE London and 49 across London that have just been sold to Operose, a subsidiary
of Centene without public input") Spain, South America, and Centene is attempting to enter
Germany. Brooks fully intends to file complaints with the UN High Commissioner and the UN
Courts, as well as the International Court of Justice with the backing and sponsorship of Russia,
China, Iran and other foreign countries whose children were harmed by the sale of their records,
if need be.
        This is the last requirement before Brooks can sue in the Geneva and UN Courts ("All
local and national remedies must be exhausted before filing with the UN"). Brooks fully intends
to sue Centene and Agate and Oregon-United States. Russia will can sue in the International
Court of Justice or sponsor Brooks.
            Brooks is going to be made whole, his name cleared, receive apologies for the wrong
done to him, and permitted to live his life out in peace, or he will fight to the very end and that is
going to entail going public with everything. A copy of this is being sent to foreign sponsors and
potential foreign sponsors.
        The State of Oregon, Respondent's and the Oregon District Court, acted as predators
upon those children and they harmed a disabled Petitioner by illegally imposing Magistrate
Judges over Brooks' written objections. District Judge Ann Aiken dismissed his case out of spite
for Brooks' objections and for Brooks' finding and showing illegal/unseemly communications
and assistance by the those Magistrate Judges to Respondent's attorneys.




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       Those foreign student records are only part of the records Agate sold. Agate sold records
for hundreds of thousands of workers from 33 states that were enrolled in pseudo self funded
insurance plans -Agate's Employers Health Alliance, Alliance, EHA, and other private plans.
Agate sold health records for patients in California and Washington, SAIF patients, public
employees - State, county, and city public employees, and public school teachers, aides, and
support workers.
       Those people's health, prescription drug, raw laboratory test results, medical imaging,
psychiatric and counseling records, were sold to their employers, credit agencies, and to
information warehouses.
       Agate should not have possessed the records for those foreign students, the HIV records,
the counseling records. Agate Resources did not even have a license to transact insurance
business in Oregon when they were selling those insurance products in 33 states and pawing
through and selling the medical records for hundreds of thousands of patient/workers and their
families. Agate was fined for illegally operating an insurance business in 2016 Oregon Cease and
Desist Order #INS 15-12-003; "Agate has never been issued a certificate of authority evidencing
the authority to transact insurance in Oregon."
       The Director of the Analytics Department and Chief Operating Officer Patrice Korjenek,
assembled tables used to profile and discriminate against patients. Respondent's chose the
helpless and the poor. Most were racial minorities, but Petitioner will not call Respondent's racist
bigots and will leave that up to others to determine.
       For example, white Medicaid patients were granted medical referrals or authorizations
65% of the time. Referrals and authorizations were for specialist care or devices, X-rays or
MRI's for injuries for a broken bone, prenatal care for expectant mother, referrals for ulcerated
colons, bleeding, psychologists in cases of sexual molestation or, in the case of foster children,
being taken from their home and housed with strangers, wheelchairs, transportation to school for
disabled children.
       White foster children were only granted referrals or authorizations for specialist treatment
or testing 26% of the time. Again, these children were denied x-rays for injuries or broken limbs.
Black foster children, received approval at half that rate - 13% of the time, Native American
children had approval for 10% of requests, Hispanic children only had a 6% approval rate.




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       Prenatal care for minority women was so lousy that the majority of Hispanic and Native
American women ended up in the emergency room (ER). For Native American women, 36% of
the c-section deliveries took place in the ER and 26. 7% of those women were sent home within
four hours of surgery (to save money on hospital costs). Major surgery as an outpatient, with

over half of them returning because of bleeding with distressed newborn babies? And, District
Court Judge Ann Aiken hid this with a Protective Order! Who was she protecting? And, note,
among white women Brooks can show records of a mere 0.053% having c-section deliveries that
were not granted a hospital room for at least one night, 24 women over a five year period.
       Respondent spent $509.39 on the average prenatal contact for pregnant white women, but
only $324.69 for black women, $354.16 on Hispanic women and $291.84 for Native American
women.
         Brooks was in charge of a special web based report, Gweezel.com, containing the raw
data for this that was accessible only to Agate Resources CEO Terry Coplin, COO Patrice
Korjenek, CFO David Cole, Shannon Conley, and Agate Attorney Cassandra McLeod Skinner.
Brooks wrote the code for this. The code behind the web pages makes it more than apparent that
executives were looking for foster children, ESL patients with poor English skills, racial
minorities, seniors, and disabled to deny care to to save money. This was so apparent that a local
doctor went to the press about this in September 2016:
       "You might expect (this kind of behavior) from the business people - Pape and Torrey-
       but not from doctors who gave an oath to first do no harm," said a local neuropsychiatrist,
       who asked not to be named. If you're going to screw over a population and not have any
       consequences, (Oregon Health Plan patients are) a perfect population ... The only way
       (Trillium) makes money is to deny patients of the very care we're supposed to give."
        [http://projects .registerguard. com/rg/business/3 4 5 79621-63 /trillium-complaints-surge-
        with-profits.html. csp]

       Jim Torrey, former mayor of Eugene, and Randall Pape, of the multinational construction
firm, were board members of Agate. Torrey reportedly received $2.5 million from Agate in 2015,
but records show that was actually $3 .3 million. Pape received $1.4 million and did not inflate
the number.
       Agate, Trillium, Centene, HealthNet are, bluntly, gigantic fraud operations currently in
violation of 42 CFR 455.104 because of their Byzantine corporate structure. Agate's subsidiaries,
Trillium Community Health Plan and Trillium COO, might have had the ability to operate as a

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"Business Associate: under the terms of the Privacy Act and HIPAA, but that appears to have
been forfeited when Trillium was acquired by Centene and all of Agate Resources employees
leased to Trillium suddenly became Centene employees:
        8. Agate did not hold a certificate of authority under ORS 731.072(1). Agate violated
        ORS 731. 022 and ORS 731.354 because Agate transacted insurance without a certificate
        of authority issued under ORS 731. 072(1). [#INS 15-12-003]

This was altered on May 16, 2020, by the state in response to Brooks' objections, but it did not
fix the underlying problem of Trillium lacking authority to conduct insurance in Oregon (or
Washington). A new license application was required and was apparently issued on January 1,
2019, by OHP as Contract# 143115-11, but that was with Health Share, supposedly a different
contractor entirely.
       Let's t1y and unravel the actual corporate structure of Centene, Agate Resources, LIPA,
and Centene. A quick check of the "Statement regarding the acquisition of Control of or merger
with a domestic insurer - Trillium Community Health Plan, Inc. by Centene Corporation", filed
with the Department of Consumer and Business Services of the State of Oregon on February 06,
2015 both shows that Centene is the sole shareholder of Agate and "gained control of Agate and
Trillium in 2015". There is no "indirect subsidiary", whatever these attorneys mean by that.
        (3) Each license shall be issued only for the premises and persons or governmental units
        named in the application and shall not be transferable or assignable [ORS 441.025]

       All of this, with a bit more to come, shows that Agate Resources and all of its subsidiaries
were illegally in possession of protected health information. Agate Resources did not have a
license to conduct insurance business. Trillium employees were Agate employees. Agate
accessed, sold, and used (by its subsidiaries) PHI. Agate was co-mingling Medicaid, CHIP,
Medicare records with EHA records and selling them. And, remember, Agate owned the servers,
the facility, and exercised hiring and firing control over the employees of Trillium, the mail order
pharmacies, SAIF, private insurances companies (which, note, it operated for more than 10 years
without a license), DME prescribers, home health organizations, women's clinics, etc.
       The Protective Order by the District Court conveys ownership of those records Agate, a
company that cannot legally even see those records. Agate, the business and executives, harmed
those patients. The District Court has no legal authority to have done that and this Court will
need to address that error.


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        Neither Trillium, Agate, Centene, and certainly not Stoel Rives, has any right to
counseling records, HIV and STD laboratory reports, genetic test results, foreign student medical
and counseling records, Oregon State (psychiatric) Hospital prescription drug and psychiatric
records, the records of thousands of public employees and public workers in Washington, Oregon
and California (and that is just the ones Brooks found ... they are undoubtably more).
        The majority of these people were not even patients or customers of Respondent and
likely did not even know of the existence of the Respondent. Respondent ~ had any right to
possess those records or even see them. Judge Aiken, however, has made all of that property of
this outfit and ordered it kept secret from the Courts, Congress, the governments of the students
involved, and in violation of US law.
        What were Aiken and McShane thinking? They put the United States government in the
middle of a nightmare situation. The office of consulate affairs of every one of those students is
required to be informed of the breach of their nationals records. And federal law, statutory law
reads
        45 CFR §§ 164.400-414, requires HIPAA covered entities and their business associates to
        provide notification following a breach of unsecured protected health information.
        Similar breach notification provisions implemented and eriforced by the Federal Trade_
        [;op1mission (FTC)J apply to vendors ofpersonal health records and their third party
        service providers, pursuant to section 13407 of the HITECH Act.

Aiken and McShayne make the Oregon District Court in violation of that law by blocking
fulfilling the statutory requirements.
        Judicial and Administrative Proceedings. Covered entities may disclose protected health
        information in a judicial or administrative proceeding if the request for the iriformation is
        through an order from a court or administrative tribunal. Such information may also be
        disclosed in response to a subpoena or other lawful process if certain assurances
        regarding notice to the individual or a protective order are provided. [45 C.FR. §
        l 64.512(e).]

        There is nothing in the law permitting a district court to prevent public knowledge of that
breach so long as individual PHI is not disclosed. The Oregon District Court was protecting
Respondent and Oregon and harming the victims, denying justice to the victims of Respondent's
criminal acts.




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        In the February 13, 2019, attachment of a "Letter oflntent to Apply Form" [RFA
OHA-4690-19 - CCO 2.0], Chris Ellerson, Trillium's Plan President and CCO of Trillium,
HealthNet, swears in an affidavit that:
       Centene is led by a 9 member Board ofDirectors and no single individual has a
       controlling percentage over the organization.
                               Centene Corporation
                                       100%
                               Agate Resources, Inc.
                                       100%
                               Trillium Community Health Plan, Inc.

Note the Health Plan Services Contract ID, #143121-14. On January 1, 2019, that was the
Health Plan Contract issued to FamilyShare transferred to Health Share of Oregon and
transferred to Centene in February 2019. ORS 441.025 is unambiguous. OHA was operating
outside of state statues and, more importantly, it was operating outside of federal statutes like 42
CFR 455.104. OHA is in violation of the CMS "Fiscal Agents: Disclosure of Ownership and
Control Snapshot". Read the requirements. Oregon should not be permitted to operate it
healthcare exchange.
        In a convoluted, but interesting, story about organized crime in Oregon, Lynn Saxton, the
head of the Oregon Health Authority was forced to resign when newspapers discovered Oregon
Health Authority had defamed FamilyShare, the last non-profit Medical Services Contractor in
Oregon, and gave that contract to Health Share in 2017.
       OHA hadproposedfeeding ideas for negative stories about FamilyCare to several
       Oregon journalists [they actually did] as part of a strategy to sway public opinion
       against the health care provider. Members of the Oregon Senate :S- Interim Committee on
       General Government and Accountability sought to have the three testify at its Monday
       meeting. Saxton's attorney re!lponded to the testimony request with a letter explaining
       that Saxton "respec(fitlly declines. 11 Attorney Steven Blackhurst said he has advised
       Saxton "not to make public statements about her service at the Oregon Health Authority
       so long as there is pending litigation between FamilyCare and the Oregon Health
       Authority." The new director of the OHA, Patrick Allen, did appear before the legislative
       panel.

Patrick Allen, his assistant Laura Robison (Cali) and staff, are mentioned in Secretary of State
Dennis Richardson's Audit Report [November 2017, "Oregon Health Authority Should Improve
Efforts to Detect and Prevent Improper Medicaid Payments"]. This concerned fraud by OHA and
executive impeding outside auditors attempts to follow federal law and used records Brooks


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provided to the Secretary and the Outside auditor at Acuity Forensics. Note that the report was
altered by OHA subsequent to its being completed in March 2018 and recorded conversations
between Brooks and Secretary Richardson. The fluff about Patrick Allen was NOT in the
Secretary's Report.
       It is not difficult to see the alternations, either. Look, for example, at recommendations
and letter by Audit Division head, Kip Memmott, purportedly written on November 28, 2017.
Mr. Memmott refers to future events. Books met with the Secretary and Mr. Memmott on
October 18, 2017, about records Brooks provided the Secretary of hundreds of thousands of
questionable payments, not the 31,300 referred to in the report or the 10% in another report.
Brooks records showed an astonishing 30% of money fraudulently misspent. Mr. Richardson
recorded his interviews with Mr. Brooks and with Mr. Memmott and Brooks has those
recordin2s and tried to introduce those as evidence to this Court.
                Government Auditing Standards require that we report circumstances that
       interfere with the completion of our audits. In particular, we are required to report
       potential scope limitations.
                Some employees iriformed us that their manager had directed them to not respond
       directly to auditor follow-up questions and to send responses through managers identified
       as points of contact for this audit. Preventing direct follow-up slowed our work,
       potentially limited our access, and created a bottleneckfor both us and OHA. We had
        questions that staff could answer in minutes, but were instead required to ask managers,
       who sometimes provided incorrect information because they lacked the same level of
       familiarity as staff.
                In addition, OHA management monitored our contacts with agency staff. In one
       example, an employee was flanked by two managers and OHA -'.s ChiefAuditor [Laura
       Cali] for an audit interview. In another example, a total of six agency staff, including
       OHA -'.s prior Chief Financial Officer/Chief Operations Officer at the time,
       accompanied one auditor** around during a tour ofOHA's eligibility processing
       center.
                OHA delayed answering requests and at times provided incomplete or erroneous
       iriformation. For example, in February, the audit team inquired about a list of carve outs
       to perform the testing mentioned on page 16. Five months later, OHA provided an answer
       that ended up being incomplete.
        We also used multiple independent verifiers of our analysis and vetted results with OHA.
        We conducted this performance audit in accordance with generally accepted government
       auditing standards. Those standards require that we plan and perform the audit to obtain
       sufficient, appropriate evidence to provide a reasonable basis for our findings and
       conclusions based on our audit objective. We believe that the evidence obtained and
       reported provides a reasonable basis to achieve our audit objective.


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              In mid-September, the agency informed us for the first time about dozens of other
       carve outs. Another example was when the agency took more than a month to provide a
       copy of an existing draft contract.

** The Auditor referred to was Tiffany Couch, Acuity Forensics, who met with Brooks at the
State Audit Offices in the Public Service Building, 255 Capital Street, in Salem, from 1o AM
until after 12:30 PM on November 29, 2017. She was still writing the actual Audit Report with
the Secretary and we had arranged for Brooks to give her documents. Secretary Richardson
telephoned Brooks at home on March 28, 2018, about that Audit Report and told Brooks that
he had secured a promise from Oregon AG Rosenblum to criminally prosecute Centene
executives for fraud, failure to pay capital gains and state income taxes, and other criminal
acts.
       Furthermore, Centene did not apply for a license to operate as an insurer in Oregon until
June 12, 2019. They were forced to because Brooks pointed out the convoluted corporate
structure that has Centene employees freely passing between supposedly competitive businesses
in violation of SEC laws and Sarbanes Oxley. Centene was fined $163,000 for 163 violations of
744.074(1)(a), "providing incorrect, misleading, incomplete or materially untrue information in
the license application". This was over fraud by HealthNet in INS 16-0162.
        All of this is applicable because Centene and Oregon are operating as subcontractors
implementing Medicare, Medicaid, the ACA, CHIP, all federal insurance programs funded by the
US government and subject to federal statutes and contracts with the federal government that
Oregon has not abided by. [See the ownership and control requirements by CMS. Oregon
knowing accepted and passed off 42 CFR 455 .104, and failed to require disclosures by Centne,
Agate, and Trillium under 455.105 and 455.106. All of that was required within 35 days of any
ownership change or change in organizational structure.
       Trillium has no employees. It had no employees when it was operated by Agate and it has
no employees being operated by Centene. All Trillium employee were leased to Trillium by
Agate and the state was not privy to this until 2015. This applied to all of Agate's subsidiaries, its
mail order pharmacy businesses, its DME businesses, the various pseudo self funded and private
insurance programs it operated. It was, it is, all a lawless scam being perpetuated by Respondents
and their counsel.
       Centene adopted the same corporate structure with that sale. Today, Agate Resources has
no shareholders, executives, employees, facilities nor assets. It is a pseudo legal cutout used to
avoid lawsuits and SEC and CMS regulations, especially reporting requirements. [see Findings
Of Fact, Conclusion of Law, Case 15-04-022; 6/25/2015]. "Trillium" is Centene, its employees



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are paid by Centene. Most of those employees are represented by Centene as working for other
companies (eviCore, CareCore, HealthNet, Ambetter, various mai order pharmacies and DME
vendors) on a legal whim. They are Centene employees the entire time. Their paychecks,
retirement plan, taxes, and benefits, reflect that, too. What Respondent's counsel is arguing for us
to accept is a fiction that no one with common sense would accept. There is no Trillium and there
is no Agate Resources They have no more existence than a character in a novel. There is only the
Centene Corporation and it has failed to fulfilled SEC, CMS, Oregon, and other statutory legal
requirements.
        Respondent's counsel deliberately misrepresents the true structure of Trillium, Agate
Resources, Agate Healthcare, and Centene. Stoel Rives is paid by Centene. They reported to
Centene 's Senior Director, Elizabeth McCray, who was the Sr. Vice President, Operations at
Trillium Community Health Plan & Health Net of Oregon through March 2020.
       Agate Healthcare aka Agate Health Care, Oregon business registry number 695284-96,
did not exist until June 16, 2010. The registered agent was Terry Coplin. That paper company
had no employees. It existed solely to "make" campaign contributions and pay gifts to politicians
and state agents. It never had a license to engage in ay kind of healthcare during its entire
existence. Coplin failed to renew and Agate Healthcare ceased to exist on June 17. 2016, and
was never renewed. It was moribund after paying off Oregon politicians in 2015 to pass
HB3300 because of the 23,000 plus patients they were caught with not having primary care
providers:
       Prohibits Public Employees' Benefit Board and Oregon Educators Benefit Board from
       contracting with health care providers, directly or through third party administrator, for
       payment or reimbursement of claims for health care provided to public employees
       residing in Lane County unless health care provider accepts patients who receive medical
       assistance. [2015 Session, HB3300]

       This failed to pass, of course. With no doctor willing to take those patients, Agate
"persuaded" Lane County to misappropriate federal low income housing and health funds to
build two "clinics" that they staffed with four contract nurse practitioners and doctors who took
roughly 8,000 patients each. The Agate executive who drove this, a former legislator, is married
to Lane County Commissioner Patrick Farr. Brooks, personally, spoke with Commissioner Heath
Buch about this and she promised to do something but never did. Essentially what you is elected
officials taking money from the poor, homeless, and sick, and bailing out corrupt executives that

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committed fraud and giot themselves into that mess. What is my county government doing
preserving executive's multi-million dollar bonuses, bonuses they did not even pay taxes on, at
the expense of the poor?


        Something known to Agate employees, and available through public records, reveals that
connections between Agate Resources, HealthN et, and Centene go all the way back to 1999.
Check, for example, Cheryl Lund, the Compliance Officer Agate Resources and HealthNet from
1999 through 2010 or the Agate VP, HealthNet VP, and Centene VP Eric Hause 2006 through
May 2020. The executive staff of these outfit, and Oregon Providence Health System, are in a
revolving door.


       Dean Harris, Brooks' predecessor as Data Warehouse Administrator at Agate Resources,
was misled into thinking he worked at Agate Healthcare, which did not exist at that time. He
filed a whistle blower retaliation complaint with federal OSHA listing Agate Healthcare as his
employer. Dean Harris was fired in 2005 for reporting Agate using Apropo Benefits Management
as a front to deny necessary medical equipment and services to OHP patients.
       Agate Resources owner Terry Coplin installed Amanda Cobb as Apropo's Director.
Harris was fired for "inappropriate behavior toward a female colleague". This was Amanda
Cobb, who Harris was reporting to. Brooks has heard of five different whistleblowers who were
pre-textually fired by Agate Resources using the exact same excuse and Ms. Cobb. Brooks
personally knows four. This bears some brief attention.
       The corollary to Agate using Cobb as an excuse for sexual harassment is the history of
grievances filed by male employees reporting to her. A very young, new DBA named Vladimir,
was called "Vlad the impaler", accompanied by suggestive body language. Grievances from
Dean Harris, Jim Kaiser, grievances by Brooks and others sexual suggestive remarks such as of
an "abrasion from shaving" and picking up men in bars referred to in a Court case in Oregon that
Brooks won in 2014 are part of the record. Also, Brooks emailed Agate Human Resources with
those complaints and filed grievance that he refers to in emails. Agate destroyed those grievances
and other records.
       Brooks never had contact with Cobb outside of work. Outside of her initiating FaceBook
messages that she insisted on, Brooks had no social interactions with her at all. Brooks went to

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great lengths to avoid her. Brooks was afraid of her. She had the power to fire him or ruin him
professionally. Agate LOST in court (thus, another perjury by respondent's counsel, who knows
that) with that claim of an inappropriate relationship and here are witnesses about Cobb making
sexually suggestive remarks, letters and emails to Mr. Brooks and other male workers.
        Women, like the head of Pharmacy Management, Patricia Lane and Kathleen Howard
were also destroyed by Cobb. Lane was approached about a mail order pharmacy scam. Cobb,
with zero background in medicine, was dispensing drugs from a box. She used a book to guess at
appropriate substitutes. Garrett Anders and Brooks walked in on her doing this in the Willamette
room at Agate and conversations of that were recorded and given to this Court as evidence.
        Lane refused and Korjenek offered her the choice of resigning or being fired for
"insubordination". She resigned. There is along list of doctors, nurses and other professionals
that were fired by Agate or face being professionally destroyed because Agate owned the firm
used by Oregon to vet professional credentials and licenses (IPS, Independent Professional
Services, co-owned with Stoel Rives at the time). Doctors filed complaints against Korjenek and
Cole for intervening in medical decisions. Coplin and Korjenek threatened doctors with
termination and professional destruction if they got involved in their patient profiling and denial
of services.
       This interference with medical decisions by non-medical executives is a routine practice
at Centene. It has been going on at Centene shell companies like Ambetter and HealthNet since
at least 2007 with (former) Agate employees at the bottom of the crimes [see https://
www.contractormisconduct.org/contractors/67/health-net-inc. This is a partial list of 33 examples
lawsuits won for misconduct for just HealthNet].
        Centene has been sued directly multiple times for misrepresenting health coverage and
providers to patients. Trillium-Centene represented that they will assign a particular doctor to a
new patient if they sign on with them. Most of the time they cannot and they run the patient in
circles. Costly patients are left without primary care doctors to prevent them from getting costly
prescription drugs, specialist care, or even requesting authorizations. The $650 a month the get
from Oregon for that patient is pure profit. It goes into the Reserve Fund and is available for
bonuses or stock buybacks.
        In Oregon, over 60,000 Trillium patients discovered that hospitals and clinics were
refusing to see Trillium insured patients unless it was a life threatening emergency. It took a


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Court Order to force Trillium and HealthNet to tell prospective patients that they could not get
elective surgeries or other care if they signed on with them.


       Brooks was injured on the job several times between 2011 and 2013. Agate refused to
accept Workman's Compensation claims (in Oregon you have to file a form 801 before seeing a
doctor). HR's Woods, Coplin and Korjenek all threatened to fire Brooks ifhe tried to go around
them and file.
       Brooks was confined to a wheelchair because of on the job injuries that began in 2011
and 2012 . In 2011/2012 Brooks developed a detached retina from working in an unlit office at
nights. Korjenek prohibited turning overhead lights on because of the electrical costs and
Brooks' computer workstation had a single 13" monitor. Brooks complained about eye strain and
was ignored. (Agate installed dual 20' monitors in early 2013 after Brooks' second eye surgery.)
       This resulted not merely in the detached retina, but three tears to the retina of the right
eye. Brooks had two surgeries and required another, which Agate refused time off for, with the
result that Brooks lost most of the sight in that eye; e.g. Brooks cannot read an ordinary
paperback book. Brooks subsequently broke the cuboid, calcaneus and metatarsal to the right
foot as a result of a fall and subsequent small lathe falling on it. He was in a cast, on crutches or
in a wheelchair fro November 2012 through July 2014. That foot still swells if Brooks stands on
it and that has resulted in Brooks' returning to a wheelchair for months.
       In 2013, Brooks suffered a crushed left foot, a consequence of a heavy steal cart loaded
with garbage tipping and falling on it. That heavy steel cart also injured Brooks' lower back. That
was due to harassment by Agate. Agate wanted Brooks to quit because Brooks spoke out at a
staff HIPAA training meeting conducted by Korjenek. Brooks opposed Korjenek and Cobb's
"Hot Spotter" Reports and Agate's profiling patients - especially foster children and racial
minorities, denying doctor authorizations and referrals just to funnel money in their Reserve
Account.
       Brooks was told by doctors to ask for time off for surgery.Brooks' wife and a famiy
friend, Shannon Urhausen, were at a June 4, 2013, doctors appointment with Dr. Donald Jones.
Brooks was confined to a wheelchair and doctors had just done a series of fluoroscopic guided
injections into the joint of the right foot to try and get the swelling down. It dod not work and Dr.
Jones was concerned about permanent damage and suggested immediate surgery.


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       Brooks told Dr. Jones that he had requested time off for surgery at the request of his
orthopedist, Dr. Dennis Routhier and Korjenek and Agate refused, in spite of the fact that Brooks
had three months vacation that would not permit him to take. Dr. Jones suggested citing the
Family and Medical Leave Act and explained that to the three of us. We all wrote declarations to
the Court about that.
       Brooks asked both HR and Korjenek for leave time under FMLA and was refused
because they needed Brooks to complete setting up a new server for Impact Intelligence claims
analysis. Korjenek made an explicit promise for time off in November 2013. She fired Brooks
before then.
       Brooks provided photographs and medical records of those injuries, along with doctor
letters, work status reports. Those photographs show the actual current state of Brooks' feet. That
hole in the top of the left foot is where a broken bone pierced the foot. The swelling to double
normal size, the bleeding from the skin splitting, the purple color, are because of those injuries.
And understand that Agate denied Brooks time off for surgery, denied telecommuting, denied
vacation time, and Korjenek and Nanette Woods did not even acknowledge the letter from
Brooks' primary care doctor telling them that they were permanently damaging Brooks foot by
delaying surge1y.
       All of this is in writing, including a reference to the doctor's letter by Korjenek, yet
Respondent's counsel is still claiming that Trillium had no idea Brooks was injured and needed
medical care. Instead of providing care, Agate FIRED Brooks.
       On August 21, 2013, Korjenek telephoned Brooks at home at 8:10 PM. She told Brooks
that the executive staff had approved his request for time off under the FMLA, but asked that he
write a detailed report, explain the code, dates due, and spend hours and night automating
procedures so that co-workers could fill in while Brooks was recuperating from surgery. This is
referred to in several emails, one in this response.
       Brooks finished that work on September 3, 2013, and sent it to Amanda Cobb as
requested. Then, Agate reneged on their agreement. Korjenek claimed not to have made that call
in spite of the fact that Brooks told her he had records and witnesses of it. In addition, Brooks
had the complete writeup of code, schedules, stored procedures, and guides for co-workers that
he had written and sent to Cobb.




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        Agate, however, destroyed Brooks servers in spite of a spoliation letter. Again, note that
documents is referred to in emails that Brooks still has.
        This is when Agate really stepped up the harassment. Agate altered Brooks job
classification from hourly to exempt Brooks was made a custodian from 5 or 6 AM until 8:30
AM. Then he worked as a DBA, programmer, and report writer until 8 PM or so, whenever
Korjenek felt like leaving. Brooks had the choice of taking a taxi hone or sleeping on his cubical
floor. This was routine enough that Brooks had a shaving kit, a sleeping bag and pillow in his
filing cabinet.
        Korjenek refused to allow Brooks to use a wheelchair and forced him to use a wheeled
secretary's chair and a crutch as a pole to get around. On September 6, Cobb, or Korjenek, sent
Brooks a "love letter" on the Facebook account Cobb set up for Brooks. Brooks brought that up
to Woods and Cobb, along with the paperwork applying for Workman's Compensation on
Thursday, September 12, 2013. They deleted it, but Brooks showed his wife and several friends
who warned Brooks to be careful because they thought Cobb was dangerous.
        Brooks called the US DOJ, ADA headquarters with a complaint about the harassment and
refusal to granFMLA and Korjenek tearing up Workman's Compensation paperwork. That was
on September 13, 2013. The following Monday morning, September 16, Brooks was called into
HR and placed on administrative leave for what he was told was a secret complaint.
        Brooks has emails were Brooks demands to know why Agate placed him on
Administrative Leave:
        Nanette, I am both surprised and outraged at your letter to me last night. I had
        informed you, on at least two different occasions, ofremarks by Ms. Cobb that I regarded
        as sexual and too personal. I was embarrassed and did not know what to make of them.
        On one occasion, she was fanning herself and claiming to have "hot flashes". On another
        occasion, she told me, in some detail about her sexual encountered with men she picked
        up at nightclubs. And, there was a Facebook comment on another occasion. Likewise, I
        have been, as recently as three weeks ago, someone Amanda confided in about her
        mothers cancer and the fact that it was due to a genetic disorder that she might have,
        herself, but that Agate's insurance wouldn't cover such testing.
                I want you to know, in each an every cases, and in several others, I reported those
        exchanges to others; mainly in an attempt to figure out what Amanda was "up to".
                 Your characterization ofAmanda's "rubbing up against me", shows a complete
        disregard/or my comments. I checked them and, what I said was, Amanda sit next to me,
        smiled, and occasionally [and unwanted] touched me in an affectionate manner". That's
        afar cry from your report. !just hope you didn't report your mischaracterization,


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       slanderous, remark to anyone else. I suspect I wont find that out, however, until I have
       you and them witnesses on the stand.
                Likewise, characterizing Amanda's sitting across from me, "making big eyes", is a
       Jar cry from what I stated. What I said was, she made eye contact. Period. And did so
       often in what I regarded as a.flirtatious manner that made me uncomfortable. Ifyou are
       going to try and characterize what I say, please make some attempt at being accurate. I
       am keeping very carejitl notes, about everything being said by Agate in this and will go to
       any lengths to prove my innocence.
                IfAgate has contacted persons far beyond any in house interview, broken any
       laws, continues to slander me, be assured that I will find out and I will sue you. You have
       already defamed me, done damaged to my reputation, attributed remarks to me that don't
       even resemble anything I have said, and appear to have engaged in what a reasonable
       person might regard as a contrived and staged person attack to rid yourselves of an
       employee facing high healthcare costs, someone older. You created a hostile work
       environment, have not addressed my own formal ~rievances, nor even acknowledged
       them, contrary to Agate published policies, and you have shared whatever I say with
       others, have led some witnesses and intimidated others. This "investigation" is a sham,
       one resting on sand. It is neither accurate nor fair nor professional.
                As for giving you more information, I will not. I simply don't trust you and I
       certainly don't trust your process. Everything about this appears to be contrived, right
       down to having me write uv a detailed revort as to the code, location of the code, details
       on it, days to be run, etc. for all ofmv normal work effort, two full weeks before this
       still secret "complaint" was filed. Coupled with repeated intrusions into my personal life
       and medical conditions, all of this give a very clear indiction ofage and sex
       discrimination, and of a healthcare company that is seeking to terminate a long term
       employee over healthcare concerns.
                I am in contact with my attorney's. Barring apologies and assurances that this
       will never happen to me or any other Agate employee in the future, it is my intention to
       bring this matter before Agate's Board, the EEOC, and, ultimately, to litigate this.
       Mike Brooks
       cc Terry Coplin

       Brooks had an MRI done on the crushed left foot on August 28, 2013. The results were
phoned into Agate on September 9 by Dr. Cassell. Brooks brought that to the attention of Woods
and Korjenek. They kicked him out of the office. Brooks was escorted to the backdoor and told
not to return until he brought in the MRI and doctor chart notes.
       Brooks was unable to obtain those until September 12. Brooks brought those to HR and
Korjenek and demanded that Respondent pay for the necessary surgeries and medical treatment.
Instread, the following Monday, September 16, 2013, Brooks was placed on administrative leave
for a secret complaint that Agate refused to tell him about:

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        I was under the impression, from our meeting on Monday, that FaceBook was the crux of
        the matter. Now, evidently it isn't the case. I am extremely concerned that I don't even
        know the nature of the complaint, then, much less any particulars about it. Facing an
        accusation that you are being kept in the dark about is disconcerting and highly
        irregular.

In spite of a later claim to the contrary, Nanette Woods demanded that Brooks log onto FaceBook
on September 16, 2013, and show her everything on that. Brooks immediately noted that Cobb,
who had set up that FaceBook account Brooks and all of her other employees, was missing.
Brooks had an old email of Cobb accepting and extending a "Friendship" request. Brooks could
not find that, but had a copy at home and sent it and the complete history of everything he had
every written or posted on that account at 12:21 PM on September 16, 2013. (e.g. as soon as he
arrived home, Brooks requested the entire FaceBook history and sent it to Woods. That history
was accompanied by the following email message:
               I found out how to forward this to you. I am, also, sending you the entire contents
       of my Facebook private activity log and the "hidden posts" log. The search/or Amanda
       Cobb on Sept 12 was when she suddenly disappeared.from my ''friends" list. I couldn't
      figure out why and took a look to see if she had blocked me for some reason or other. She
       hadn't.
               Likewise, the Scabble games on September 6, were in response to games it
       appeared she had started with me. I was not, am not, familiar with the interface with
       Scrabble, and that could have been a misunderstanding. I deleted those games. That has
       been the sum total of my contact with Amanda outside of work in at least 6 months.


       And, finally, showing perjury and defamation by Respondent's counsel, Brooks would
refer the Court to a hearing and decision before an Oregon Administrative Court on December
16, 2013. Brooks has both the recording and the transcripts for this, but Korjenek and Woods
both testified and perjured themselves and were caught.
       The judge issued her decision and Order on January 8, 2014. Judge Katlyn Monroe's
Conclusion of Law is one sentence long: "The claimant was discharged but not for
misconduct".
       Respondent's paid a $40,000 bribe to governor Kitzhaber, the governor that was forced to
resign for accepting bribes. Kitzhaber formed an illegal two member board to overturn that court
decision. Brooks in not sure if it was Stoel Rives or Agate, but someone fabricated emails and
that board's decision was written by Agate's own attorney, Carolyn Walker!


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         One board member was a former state senator who's wife worked for Agate and who was
friends with Agate executives. He was reportedly paid by Respondent.
         The other board member was a Kitzhaber campaign staff member and aide to the
governor.
         That board, operated under a special charter that it "need not conform to common law or
statutory rules of evidence and other technical rules ofprocedure". Either Agate or Stoel Rives
falsifed emails dated between November 14 and November 19, 2012.
         November 19 was the day Brooks saw two doctors for cancer treatment and a drug
reaction that made it impossible for Brooks to work.
         One thing to note is the date and subject line in the "chain" of emails Respondent
assembled. The subject is always "ACA ... again", referring to an ACA report that Cobb wanted
Brooks to fix. The problem was a simply syntax error of substitution a retired TSQL inner join,
X *= Y, for the new explicit requirement: X left inner join Y. Brooks has the actual email and
code. This syntax is missing from the email Cobb supposedly sent to Brooks on November 14.
The code attached to that email compiles and runs just fine. In other words, someone faked that
email.
         The code was fixed by Brooks on 11/15 at 2:27 and sent to Cobb. That was the working
code and that was the end of the email used to overturn the Court decision. Aside from the fact
that this was a year old, the code included works. It is NOT the problems code claimed in the
email. As far as forensic evidence goes, this proves fraudulent created evidence.
         Everything else was contrived. Brooks has looked at their email chain, which covers
11/14 through 11/19. It does not make any sense because even their fake email on 11/15 shows
Brooks having fixed Cobb's coding problem. No one sane would keep the same subject line from
Wednesday of one week through the following Monday. Brooks can understand the fake, but
why would be have it predated in 2012, a year earlier? If Brooks had actually written that, why
didn't they fire him? Brooks had just been assigned to work under Cobb in the Analytics Group
and the conversation doesn't make sense.
         And, finally, Woods and Korjenek lied when asked if they were advertising for a cheaper,
younger, Hl-B visa worker to replace 66 year old Brooks. The said, under oath, they were not


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and had not. Korjenek and Woods had placed an ad in beyond.com for an Hl-B worker who was
an expert with Impact Intelligence, C, C#, C++, etc. They literally used the job description
Brooks was requested to write by Korjenek in a telephone call to his home on August 21, 2013.
Korjenek had hired 26 year old Danish guest worker, Claus S0gaard Andersen, who was working
at Trillium at the time of the court hearing!
          In fact, Korjenek advertised for an Hl-B replacement in October 2012 on
melikeshl b.com after Brooks spoke out in a HIPAA staff training session. Brooks was upset that
Respondent violated HIPAA by giving doctors and other medical providers "Hot Spotter"
profiling and denying care to patients with costly medical conditions. They had killed a 4 year
old girl with inflammatory bowel disease. Her pediatrician had referred her to Seattle Children's
Hospital and Agate had approved that referral. Korjenek, practicing medicine without a license,
found that Dr. Anna Stern had approved that referral. Korjenek ordered Dr. Sattenspiel rescind
that approval. Dr. Sattenspiel told an entire group of fly tying students that.
          That little girl was, then, denied care entirely by Korjenek and Respondent's until the
disease ruptured her appendix and killed her. Brooks regarded, still regards this as homicide.
Most people will and you can count on the Russian, Chinese, Arab press stressing that as a
homicide.
          Those Hot Spotter reports resulted in more than 23,000 patients without primary doctors.
With no primary care doctor to write prescriptions for pain medication, hypertension drugs, or
ask for referral, Agate kept the entire $650 per patient per month OHP payment rather than
paying part of it to a primary care doctor. Respondent's were out of compliance with their
Medicaid contract. When another DBA, Garrett Andres reported the same thing, he, too, was
fired by Agate, and Stoel Rives threatened to destroy him, too.
          Respondent's counsel misled this Court. They knowingly committed perjury and defamed
Brooks in their submissions, counting on Brooks being so disabled that he would not be able to
respond to their libel. Brooks is responding and Brooks wants Stoel Rives censured.
          Brooks writes about this in his Writ of Certiorari, but it bears being stressed here because
Brooks needs appointed counsel and accommodations and those have been denied by the federal
courts.


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       Agate ruined Brooks' health. They denied him medical care and, worse, abused their
position with the government to prevent Brooks from obtaining medical care. Least
Respondent's counsel deny that, Brooks has recordings by co-workers referring to that, phone
records from a call from Nanette Woods at 9:33 AM after Brooks returned home, unaware of
how severe the damage was, and an email from his supervisor, Amanda Cobb, inquiring why he
was not at work with Brooks' reply to that explaining the injury and his going home on the
orders of a nurse. Brooks has witnesses statements and medical records. Respondent is an
employer that deliberately harmed an employee and refused and prevented that employee
for getting medical care.
       Brooks had to pay for surgery on the right foot, which was done on March 21, 2014, just
to be able to walk with crutches. The left foot has never been attended to and Centene blocked
Brooks from seeing a specialist for care (Dr. Simona Braun) after she advised that surgery was
necessary.
       The lower back injuries are severe-. "L4-L5, L5-S 1; Anterior extension of disk material
is seen which extends into the retroperitoneum at the level of the aorta and cava as seen on
imagine #19". The spinal injuries are actually in two placed, which is why Brooks provided
those MRI reports in the medical exhibits. The MRI of the lower back showed the disk had been
damaged at Agate.
       The spinal injury to the upper spine resulted from mistreatment and failure to provide
accommodations. That resulted in damage to the Vegas nerve, atrial fibrillation, atrial flutter,
bradycardia, loss of the swallow reflex, and several heart attacks. The damage to the mylin
sheath resulted in multiple sclerosis. That would not have happened, however, without the feet
and lower back injuries that happened at Agate Resources and were never treated.
       Brooks was unable to stand for more than 60 minutes or so because of the foot and lower
back injuries from 2013 on. Trying to accommodate for led to damage to the upper spine that
was severe. That ended up destroying four disks and a vertebra in October, November 2017
while working on this case. The Court assigned Brooks printing out and sorting, then sorting the
thousands of documents into single files and scanning them into individual PD F's. Thereafter
Brooks had to write a detailed description of each document. These were all of the documents


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stored in a locked office at Leiman and Johnson's Law Offices for copying and "safe keeping"
on January 18, 2017:

               ... we believe it is time to collect your evidence and get it cataloged and ready for
       the next stages of litigation in your cases ... We thought I could come out in my truck with
       some empty boxes and pick up what you've got and bring it to our office so we can start
       to get our hands around it. Sound good? [email from Drew Johnson, qui tam attorney,
       1/18/2017]

       They were stolen from that office on September 10, 2017, by an attorney assigned to this
case by the Com1 and Lei man and Johnson. That attorney, Marianne Dugan, gave all of those
documents to Stoel Rives, who lied about having them to Brooks. Brooks has assuming that the
Com1 did not know they had those documents, but there are reasons to doubt that now.
       In any event, the Judge, ignoring pleads from Brooks and letters from Brooks doctor and
the head of physical therapy at Sacred Heart Hospital, ordered Brooks to print, sort, scan,
identify and categorize those 5.2 GB of PDF's (roughly 600,000 pages and 8,000 documents).
Individual ODF's contained 10 to 30 files and oft times files resided on two or more PDF's.
       Brooks was informa pauperis, something that Judge Jolie Russo simply ignored. A black
toner cartridge for Brooks HP LaserJet 200 276nw printer costed $76 from amazon and printed
1500 to 2000 pages. Paper was $27 for 8 reams at Costco. Brooks racked up over $2000 in credit
charges just to comply with an order by a Magistrate Judge, Jolie Russo, who presumably was
furious because Brooks had opposed her assignment of this case because she was friends of
Oregon Department of Justice Assistant Attorney Generals that had interfered with the
investigation of Kitzhaber. Judge Aiken unsealed Brooks' objections in violation of the FRCP 73
privacy rules.
       Brooks was facing sanctions and daily harassment from Stoel Rives, demanding reports
on his progress. Brooks ended up in the emergency room on October 30, 2017, for lower back
pain, on November 7 for severe back pain and a possible heart attack, to urgent care on
November 3 and 13, for progressive paralysis of the left side and much pain. Brooks was sent
toDr. Jose L.R. Sioco III, on November 3, 2017; at Wendy Lange, FNP, on November 7; Dr.
Katherine Beckstrand on November 10; and Peter Lunger, PT, on November 16.




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       The problem is that no one believed how badly Brooks was injured. Centene was
denying MRI's and X-rays and denying visits with specialists. This is why Brooks is adding one
Spinal MRI imagine to this document.
       Below is an MRI imagine taken on August 17, 2018, of Brooks upper spine and brain
stem. Note the bulging disks that have cut off feeling and notice the torn mylin sheath. The
sheath protecting the spinal cord is supposed to be intact and filled with fluid. Brooks' has been
pierced, the fluid having leaked out and providing a route for the infection in the brain stem you
see.
       ... MS, the sheath covering nerve fibers in the brain and spinal cord are damaged,
       slowing or blocking electrical signals from reaching the eyes, muscles and other parts of
       the body. This sheath is called myelin ... Although several treatments and medications
       alleviate the :;ymptoms of MS, there is no cure.




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       Throughout all of this, Brooks and Dr. Arnsdorf have records. Centene, acting as the
Benefits Administrator, blocked Brooks for treatment, they cut off physical therapy, and they
denied Brooks' getting an MRI. Centene did this to Brooks.
        Centene was appointed by Oregon as the Benefit Administrator for all public employees.
Brooks wife is a school teacher and is insured under OEBB. Brooks had no choice. He was
covered under he plan running from October 1 to October. Originally with MODA Health (and
Stoel Rives are attorney's for MODA and MODA provably gave Reilley Keating Brooks appeals.
Keating ran Brooks in circles by ignoring appeals, refusing to comply with HIPAA requests for
information, and by hiding her involvement from Brooks and the court and "misrepresenting" it
in declarations and filings.
       In the ever changing excuses sent to Dr. Arnsdorf, Centene said they would only allow an
MRI in certain conditions. On June 6, 2018, they wrote:
        Requested servicies: CPT72141 - Magnetic Resonance Imaging (MRI) ...
        Service Provider:       WILLAMETTE VALLEY IMAGING
        Date(s) of Service: 6/21/2018
        Claim amount:                   n/a
        After a careful review of the documentation provide by DR. ROBERT ARNSDORF, we
        regret to tell you that this kind of service is not covered for the following reason:
        Based on eviCore Spine Imagining Guidelines Section SP 1.1 General Considerations,
        we cannot approve this request. Your records show you have neck pain. They also show
        a request for a magnetic resonance imaging (MRI) scan of your spine ... A MRI is
        supported for your type of pain if one of the following applies to you. One ... Three, you
        had a recent tissue sample taken for lab testing (biopsy) result that was not normal. Four,
        you had a recent infection, Five, you have had a cancer in the recent past. Your records
        do not show that one or more of these apply to you.


       Neck pain? Dr. Arnsdorf's Chart Notes, diagnostic codes, and authorization request refer
explicitly to paralysis and loss of automatic reflexes. This is, by the way, the tenth denial. We
requested formal appeals and, as we found later, Reilley Keating was also MODA's attorney and
was ignoring those appeals in spite state and federal legal requirements for an independent
medical review to be made when an appeal is requested.
        Who would have ever thought a diagnosis for cancer would be a blessing. On May 4,
2018, Dr. Beckstrand noticed a strange growth on Brooks' head. She took a shave biopsy and it
turned out to be invasive squamous cell carcinoma. Dr. Beckstrand referred Brooks to Sacred


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Heart Dermatology for surgery and Centene kept blocking that. When Dr. Amsdorf did a careful
reading of the June 6 rejection he discovered "had a recent tissue sample taken for lab testing
(biopsy) result that was not normal" and "you have had a cancer in the recent past". Dr.
Arnsdorf demanded the MRI. MODA "approved" it, verbally, but Centene still would not
authorize it. Dr. Amsdorf tried to arrange for Oregon Imaging to do it and Centene simply
refused to authorize it. Dr. Arnsdorf found a small new independent business, Willamette Valley
Imaging, who received an authorization on August 16, followed by a denial, then another
Authorization on August 17 and rushed Brooks in for an MRI before Centene could deny it
again.
         The results were four damaged disks, two with < 5 mm egresses that were causing the
paralysis. Those records bear looking at because Brooks is requesting accommodations under the
Rehabilitation Act, the ADA, the AD AAA and the UN International Covenant on Civil and
Political Rights, ratified by the United States on June 8, 1992.
         3. Each State Party to the present Covenant undertakes:
         (a) To ensure that any person whose rights or freedoms as herein recognized are violated
         shall have an effective remedy, notwithstanding that the violation has been committed by
         persons acting in an official capacity,·
         (b) To ensure that any person claiming such a remedy shall have his right thereto
         determined by competent judicial, administrative or legislative authorities, or by any
         other competent authority provided for by the legal system of the State, and to develop
         the possibilities ofjudicial remedy;
         (c) To ensure that the competent authorities shall eriforce such remedies when granted.

         The MRI of the neck showed four damaged disks with an egress < 5 mm. That went on
for a full year, which led to a brain infection. The spinal sheath was ripped and Vegas nerve was
impacted. The torn mylin sheath led to Brooks' developing multiple sclerosis:
         ... in MS, the sheath covering nerve fibers in the brain and spinal cord becomes
         damaged, slowing or blocking electrical signals from reaching the eyes, muscles and
         other parts of the body. This sheath is called myelin ... Although several treatments and
         medications alleviate the symptoms of MS, there is no cure.


         Brooks was permanently disabled by a legal system that failed him. Brooks has, at best,
been crippled for the remainder of his life. Brooks cannot sit up for more than ten minutes or so
without spinal compression causing atrial flutter alternating with atrial fibrillation alternating

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with bradycardia. Essentially, as the records submitted with his Writ of Certiorari show, Brooks'
a.flutter with Ventricular Rate will be 85 BPM when the Atrial rate will be 416 BPM, then switch
to a. Fibrillation with 89/250, and them switch to a 36 BPM where Brooks passes out. The last
time Brooks passed out was April 13, 2021. Brooks often passes out when he works on these
legal papers because he pushes himself beyond 15 minutes of sitting, which is all it takes.
       Brooks has to take Xarelto to prevent strokes, but that causes bleeding problems. The
falls always result in damage to the head and face. Doctors fear that one day a fall will result in
internally bleeding out.
       Among the ongoing assaults by Respondents on Brooks, another recent one needs to be
talked about. Centene as has been previously mentioned was the Benefits Manager for MODA.
Brooks' wife switched insurers to Kaiser to avoid them. Well, "Trillium" was the Benefits
Manager for Kaiser until very recently when they were fired.
       For example, as recently as January of this year, "Kaiser" suddenly terminated Brooks
prescriptions for Xarelto and Metoprolol. They did this without communicating with Brooks'
doctors. The cardiologists had to get an emergency script for Xarelto because Brooks has both
"atrial flutter with varying block" and "atrial fibrillation with premature ventricular or aberrantly
conducted complexes" . That already resulted in two heart attacks and Centene full well knew
that suddenly stopping Xarelto:
       High Risk of a blood clot or a stroke, headache, fatigue, dizziness, lightheadedness, easy
       bruising, back pain, nausea, heart palpitations, high blood pressure, muscle weakness,
       and dry mouth

Brooks was told by both the pharmacy manager and by the head of Customer Services at Kaiser
that this was done by "Trillium", who is actually Centene. She did not know the names of the
people that did this but she had first hand information that "Trillium" had switched Brooks
prescription from Xarelto to Pradaxa because Brooks cardiologists had called her and told her
that this switch had a high likelihood of killing Brooks and she had to find out why the change
had been made in the first place. She was angry when it was done twice by Trillium, in
December 2020 and, again, six weeks later in January 2021.




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       It's beyond imaginable, but Kaiser literally had to place a flag on my account because
Centene was still trying to alter the assigned provider, and drugs as recently as They terminated
working with Trillium over this January (and found someone from there messing with Brooks'
prescription records in March of this year!). It is impossible for Brooks to imagine that Stoel
Rives would not know about this, too. When they found out about Brooks spinal injuries in
November 2017, they abrogated an agreement to include Brooks information in ajoint status
report due the next morning.
       Stephen Galloway did that at 4:41 PM on November 14, 2017:
       Our section of the status report represents our point of view regarding the status of the
       dispute, and your section represents yours. We stand by everything we have written, but
       ifyou disagree with any of our statements or feel we have omitted anything important,
       please note that in your section.

Brooks replied at 5 :09
       Oh, I see what you did Excuse me. By telling you that I was serious ill, you waited until
       2:30 on the day before the Joint Status Report was due, before filing it. Nice. Well, I will
       be up all night working on this and will email it to you when I am done. That will not
       likely be until sometime tomorrow afternoon. I will take it to the court, with my letter, our
       entire email chain, and a response to your motion objecting to the interlocutory appeal. I
       have learned to never trust you, again.

That cost Brooks the use of his left hand and his involuntary swallow reflex. Brooks lost those
around 3 AM in the morning of November 15, 2017. Brooks worked through this and finished
his part of the Status Report and took it to the federal Court House.
       That swallow reflex has meant that Brooks has not slept in a bed since 2017. Brooks can
drown on his own saliva when he lays down. Brooks "sleeps" in a recliner or propped up in a
semi-sitting position with pillows. Harassment by Stoel Rives caused this.


       (1) Brooks requests that this Court order the Federal Bureau oflnvestigations to
investigate this entire situation. It should be that hard to interview Brooks and find he is telling
the unvarnished truth. From there, they could interview the witnesses Brooks has provided;
especially former Stoel Rives attorney Brianna Bridegum, Ryan Gibson, and Carolyn Walker
about the Dugan burglary.



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        From there the FBI could investigate and arrange for the criminal prosecution of Centene,
Agate Resource's executives and insiders, the state of Oregon. This matter is serious and no one
should be permitted to lie or harm anyone else. This needs to stop here.
        (2) Brooks asks that the "Protective Order" be declared unlawful and void and that
Brooks be permitted to do his duty by notifying the governments of foreign nationals who were
victims of Agate-Centene's criminal Acts. Brooks also intends to contact the US Congress with
this.

        (3) Brooks asks this Court set aside any statute of limitations or time bars where the
District Court's Protective Order caused victims to miss filing deadlines.
        (4) Brooks asks that this Court to set aside any decisions entered by the District Court in
closing both the wrongful termination or False Claims Act cases.
        In the former case, Judge Aiken acted out of spite for Brooks filing complaints against
her Magistrate Judge cronies Russo and Kasubhai. Brooks provides ample evidence of
wrongdoing by "someone" in the District Court unlawfully communicating and assisting
"defense counsel" and unlawfully denying Brooks discovery, accommodations under US and
international law and ordinary decency.
        The District Court operated outside the law in the qui tam case by ignoring citations of
Cochise Consultancy Inc. v. United States, ex rel. Hunt and demanding ever more current
evidence. The District Court permitted misrepresentation by "defense counsel" where they lied
about Brooks' expertise and about the actual meaning of CPT codes. The Court ignored the
criminal intervention of Jeffrey Wertkin, Neil Evans, Kevin Burke, and possibly District Judge
Ann Aiken in that case, also. Brooks was prohibited from filing an appeal based on fraud by the
district court, just as he was blocked from filing appeals by the District Court.
        (5) Brooks filed a spoliation letter and with the District Court and Stoel Rives when he
was required to give them the evidence he had. Brooks wants all of that, plus everything
Marianne Dugan gave them, returned to him and Brooks asks that they be made to account for
any persons or agencies that they shared that information with.
        (6) Brook, then, wants permission to speak with lawyers about filing class action suits
and forcing CMS to fine Centene and Agate for HIPAA violations. Brooks estimates the


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minimum amount of fines at $1005 billion, sufficient to put these corrupt companies out of
business and impoverish the corporate officers, board members and shareholder insiders.
        (7) Brooks asks that Stoel Rives be disqualified and that Stoel Rives be prohibited from
practice before the federal courts for at least 12 months.


A. Brooks asks for the immediate payment of any and all medical and living expenses.

B. Brooks wants all medical bills stemming from his injuries at Centene-Agate-Trillium be paid
     in full. This will include prescription drugs, wheelchairs, crutches and other DME as
     prescribed by Brooks' doctors.
C. To that end, Brooks asks for a permanent Protective Order against Centene and any of their
     staff, experts, or other hires to cease attempting to harm Brooks or interfering with his
     medical care
D. It is too late for Brooks to be able to walk and use his left foot, and he is too frail to undergo
     surgery for the damaged lower back, and so Brooks wants lifetime access to swimming pools
     wherever he resides, so he can do water walking and retain some semblance of mobility
E. Brooks wants access to retinal surgeons to see if the sight in his right eye can be restored and

     the special eyeglasses necessary to restore vision sufficient for reading a book be made
     available
F.   Brooks requests that Respondent's be required to immediately purchase Brooks a New
     Toyota Tundra pickup truck handicapped equipped with a towing package and the handicap
     25 foot Airstream International trailer so that he might have a place to stay. Brooks has
     nothing and 8 years of being denied medical care and money has taken its toll. It is obvious
     that Brooks was injured on the job, that Respondent both denied and prevented medical care,
     and serious harmed Brooks. The least this Court can do is to order medical care and a safe
     place for Brooks to live.
G. Brooks asks for the assistance of this Court in arranging with the US Department of Justice
     to pursue the False Claims Act, Sarbanes Oxley criminal, and HIPAA actions against Agate
     Resources, Trillium, Centene, HealthNet, Providence, and their present and former
     executives. Brooks wants nothing from that, but would like to see any reward entered into


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     and managed as a legal fund for victims of medical profiling. Brooks law firm tasked with
     managing that be chosen by the Chief Justice of this Court.
H. Brooks asks that Stoel Rives and all of their witnesses be disqualified from this case and
     from the False Claims Act case.
I.   Brooks asks that all current and past attorneys for Respondent in Brooks' False Claims Act
     and Wrongful Termination cases be subject to public censure and be prohibited from
     practicing before the federal courts for a period on not less than 12 months.
J.   Brooks wants a new trial in a new venue, outside of the 9th Circuit, for his wrongful
     termination suit. Brooks suggests the 10th Circuit because he has family in Utah that can
     assist him. Brooks asks for expert counsel to be paid for by Stoel Rives (based on the
     evidence of wrong doing he introduced in the Writ of Certiorari). If Brooks passes due to his
     injuries, Brooks asks that this case proceed and that any winnings be distributed equally
     between his spouse and children.


Thank You, Respectfully,




Michael T Brooks
Plaintiff in Pro Se
32713 Vintage Way
Coburg, Oregon 97 408




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